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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


      UNITED STATES OF AMERICA,

                 Plaintiff,

      v.                                                             Case No. 8:03-cr-77-T-30TBM

      HATEM NAJI FARIZ,

                 Defendant.
                                              /


                                                  ORDER

                 THIS CAUSE is before the court on Defendant’s Amended Motion for Correction

      and Reconsideration of Magistrate’s Discovery Order of May 10, 2005 and for Related

      Discovery Relief (Doc. 1096).1 By this motion, Mr. Fariz seeks an Order correcting the

      court’s incorrect listing of an overt act referenced in footnote 1 of the Order. Additionally,

      Mr. Fariz protests that the Order lists counter-translations which are inconsistent with those

      he has served on the Government and identified for possible use at trial and “appears to

      suggest that other defense translations produced will be excluded if they have not yet been

      provided to the government.” (Doc. 1096 at 1). Further, Mr. Fariz seeks reconsideration of

      prior deadlines established by the court for the production of the Defendants’ foreign-




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             Defendant’s Motion for Correction and Reconsideration of Magistrate’s
      Discovery Order of May 10, 2005 and for Related Discovery Relief (Doc. 1070), which
      Defendant Sami Al-Arian has adopted see (Docs. 1084, 1105), is DENIED as moot.
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      language translations/transcripts.2 For the reasons set forth herein, the motion (Doc. 1096) is

      GRANTED in part and DENIED in part.

                 Insofar as Mr. Fariz complains that the court incorrectly listed overt act 210 in

      footnote 1 of the Order, the objection is well-taken. As indicated in the motion and confirmed

      upon the court’s review of the recording of the hearing, the overt act actually identified by

      counsel for Mr. Fariz during this portion of the hearing was overt act 310 not 210. Thus, this

      aspect of the motion is GRANTED, and the Order shall reflect this correction.

                 As for Mr. Fariz’s assertion that the overt acts specified in the Order are inconsistent

      with others under discussion with the Government, some additional comments regarding the

      court’s reference of such in a footnote are appropriate. The specific overt acts listed in this

      footnote were provided by Mr. Fariz’s counsel in response to the court’s inquiry concerning

      which of the Government’s overt act translations/transcripts would likely be challenged at

      trial by way of a defense translator and Defendant’s counter-translations/transcripts. These

      discussions were part of the larger discussions intended to streamline the introduction of

      foreign-language translations at trial. The footnote was inserted for illustrative purposes and

      to identify those particular overt acts of which counsel needed to address further with the

      Government in an attempt to narrow the actual disputes at trial. It did not list the full universe

      of counter-translations produced by Mr. Fariz and provided to the Government, nor was it

      intended to. Significantly, the Order does not suggest any limitation on Mr. Fariz using




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              At this time, the court finds that a response by the Government is not warranted.
      Should the Government wish to respond, it may do so before the District Judge.

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      any counter-translations/transcripts which were timely produced to the Government.3 As a

      result, any perceived inconsistency is without consequence. To the extent that the motion

      sought correction in this regard, it is DENIED.

                 The Order does suggest that counter-translations/transcripts not already provided by

      the Defendants to the Government should be excluded from trial as untimely unless otherwise

      ordered by the trial judge. As the record will reflect, the court’s Order of April 8, 2005,

      extended the Defendants’ deadline for serving counter-translations/transcripts for the last

      time. By this Order, the Defendants’ counter-translations/transcripts were due no later than

      May 1, 2005.4 (Doc. 960). While there may be specific instances in which defense counsel

      were prevented from meeting this deadline due to circumstances beyond their control and

      these circumstances may warrant the use at trial of a late counter-translation/transcript, Mr.

      Fariz, as well as the other Defendants, have had a fair and adequate amount of time to review

      the evidence and produce translations/transcripts for their defense. As his motion indicates,

      Mr. Fariz and his counsel were provided tapes of the recorded conversations listed in the

      overt acts beginning in March 2003. They received “tech cuts” of the FISA intercepts and



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               As addressed in some detail at the hearing, Mr. Fariz has produced in excess of 200
      counter-translations/transcripts related to the overt acts. As to most of these, there has been
      no offer by the Government to stipulate. However, according to counsel for Mr. Fariz, only a
      handful of this larger number of counter-translations/transcripts are likely to result in their
      calling their own translator for purposes of introducing the counter-translation at trial, and it
      is those counter-translations/transcripts which the court sought to identify in the footnote.
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               The original defense deadline set by the court for the production of the counter-
      translations/transcripts was December 31, 2004. See (Docs. 605, 643, 654). That deadline
      was extended to March 18, 2005. See (Doc. 824). Based on the discussions at the hearing on
      April 6, 2005, the Defendants were allowed until May 1, 2005, to complete this production.
      See (Doc. 960). By this latter Order, the Defendants were granted until May 16, 2005, the
      anticipated start of trial, to provide the Government with translations of any foreign-language
      matters they intended to use in their case-in-chief.

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      recorded conversations from his phone lines in March 2004. Relatively speaking, Mr. Fariz

      has far fewer acts of misconduct to defend against than do some of his coconspirators, and he

      was released on bond shortly after his arrest and has had over two years with near total access

      to the Government’s evidence for purposes of reviewing and producing defensive matters.5

      Most significantly, beyond his general complaints, Mr. Fariz fails to demonstrate prejudice

      arising from this alleged insufficient amount of time to review and produce

      translations/transcripts needed to defend against the Government’s allegations.

                 One aspect of Mr. Fariz’s argument deserves additional attention. In particular, Mr.

      Fariz points to the flurry of recent discovery production by the Government and its continued

      production of additional foreign-language translations/transcripts. He contends that part of

      the delay in producing counter-translations/transcripts was caused by the Government’s

      serving revised translations/transcripts of previously provided material and wholly new

      translations/transcripts even after the February 18, 2005, deadline for such production by the

      Government. To the extent that the Government has produced wholly new

      translations/transcripts (not revisions of earlier transcripts) after the February 18, 2005, cutoff,

      those translations/transcripts are untimely and deserve the same treatment. Accordingly, to


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               To the extent Mr. Al- Arian has joined in this motion and has adopted Mr. Fariz’s
      counter-translations/transcripts, he too has had adequate time and opportunity to prepare for
      his defense. For over two years, he has had his own copy of the recordings alleged in the
      overt act section of the indictment, and as the record in these proceedings reflects, there has
      been an extraordinary effort on the court’s part to accommodate both Mr. Al-Arian and Mr.
      Hammoudeh because of their pretrial detention. While Mr. Al-Arian’s access to the
      discovery material has been less than that of Mr. Fariz, his attorneys have not been so
      constrained and they simply offer no good excuse for failing to address the
      translations/transcripts in a timely manner. Thus, at this time, they do not demonstrate any
      real prejudice from being prevented from serving any other translations/transcripts.

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      the extent the Government has served upon the Defendants new translations/transcripts of

      foreign-language matters after its deadline of February 18, 2005, these translations/transcripts

      should also be excluded at trial absent a contrary order of the trial judge.

               For similar reasons, insofar as the motion seeks reconsideration of the deadlines for

      producing counter-translations/transcripts, it is DENIED except that, consistent with the last

      Order, Mr. Fariz and the other Defendants shall have until June 6, 2005, to produce any

      additional translations/transcripts intended to be offered in their respective cases-in-chief.

               Done and Ordered in Tampa, Florida, this 20th day of May 2005.




      Copies furnished to:
      United States District Judge
      Counsel of record




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